                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN
                               (Milwaukee Division)



JOHN DOE,

      Plaintiff,

 v.                                                Civil Action No. 2:19-cv-00388-JPS

MARIAN UNIVERSITY,

      Defendant.



                                NOTICE OF APPEAL

        Plaintiff John Doe, by counsel, and pursuant to Fed. R. App. Rules 3 and 4,

gives notice of its appeal to the United States Court of Appeals for the Seventh Circuit

from the final judgment of this case entered on December 31, 2019 (Dkt No. 59) and

order granting summary judgment entered on December 31, 2019 (Dkt No. 58).

Dated: January 30, 2020                 By: /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 30, 2020, I filed the foregoing using the

Clerk’s CM/ECF system, which will provide notice to all counsel of record.


                                            By: /s/ Jesse R. Binnall
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